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                                    UNITED STATES DISTRICT COURT
                                    NORTHERN DISTRICT OF INDIANA

  I N R E I NOTIV , I NC . S ECURITIES L ITIGATION Case No. 4:22-cv-00045-PPS-JEM

 DEFENDANTS’ UNOPPOSED MOTION FOR A FURTHER EXTENSION OF TIME TO
          ANSWER PLAINTIFF’S FIRST AMENDED COMPLAINT

           Defendants, by and through undersigned counsel of record, respectfully move this Court

 for an extension of the deadline to answer Lead Plaintiff’s First Amended Class Action

 Complaint for Violations of the Federal Securities Laws (“Plaintiff’s First Amended Complaint”)

 (ECF No. 53) to May 31, 2024. In support, Defendants state as follows:

           1.         On June 23, 2022, Sergio Grobler filed a putative class action complaint against

 Defendants for alleged violations of the federal securities laws in the above-captioned action

 (“Action”) (ECF No. 1).

           2.         On November 29, 2022, Court-appointed lead plaintiff Oklahoma Police Pension

 and Retirement System (“Plaintiff”) filed its First Amended Complaint.

           3.         On January 27, 2023, Defendants filed a Motion to Dismiss the Action (ECF No.

 67), which the Court denied in part on March 29, 2024 (ECF No. 74).

           4.         By order dated April 11, 2024, the Court extended the deadline for Defendants to

 answer the First Amended Complaint to May 17, 2024 (ECF No. 77).

           5.         The parties, through their respective counsel, met and conferred regarding

 Defendants’ deadline to answer Plaintiff’s First Amended Complaint and Plaintiff has consented

 to a further extension of that deadline to May 31, 2024.

           6.         Therefore, Defendants hereby move the Court for an Order extending their

 deadline to answer Plaintiff’s First Amended Complaint to May 31, 2024. Defendants have

 submitted a proposed order for consideration by the Court.



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           WHEREFORE, Defendants respectfully request that the Court enter an Order setting

 forth the deadline proposed herein, and for any other appropriate relief.



 Dated: May 16, 2024                           /s/Darren A. Craig
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